                      Case 1:18-cv-02988-DLF Document 1-6 Filed 12/18/18 Page 1 of 4

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District
                                                    __________     of Columbia
                                                               District of __________

   Damien Guedes, Firearms Policy Coalition, Inc.,                  )
  Firearms Policy Foundation, and Madison Society                   )
                  Foundation, Inc.                                  )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:18-cv-2988
                                                                    )
     Bureau of Alcohol, Tobacco, Firearms, and                      )
 Explosives, Matthew Whitaker, Thomas E. Brandon,                   )
          and the United States of America                          )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                      Case 1:18-cv-02988-DLF Document 1-6 Filed 12/18/18 Page 2 of 4

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


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                            Plaintiff(s)                            )
                                                                    )
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                                                                    )
     Bureau of Alcohol, Tobacco, Firearms, and                      )
 Explosives, Matthew Whitaker, Thomas E. Brandon,                   )
          and the United States of America                          )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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                                                                                ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                      Case 1:18-cv-02988-DLF Document 1-6 Filed 12/18/18 Page 3 of 4

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


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                            Plaintiff(s)                            )
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          and the United States of America                          )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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                                                                              ANGELA D. CAESAR, CLERK OF COURT


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                                                                                        Signature of Clerk or Deputy Clerk
                      Case 1:18-cv-02988-DLF Document 1-6 Filed 12/18/18 Page 4 of 4

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


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                                                               District of __________

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 Explosives, Matthew Whitaker, Thomas E. Brandon,                   )
          and the United States of America                          )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
